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                       UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK


                               JUDGMENT IN A CIVIL CASE

Sarah Mikoda
                Plaintiff

        vs.                                      CASE NUMBER: 3:20-cv-00271

Kilolo Kijakazi, Acting Commissioner of Social Security
                 Defendant


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
                              heard and a decision has been rendered.


IT IS ORDERED AND ADJUDGED that Plaintiff’s motion for judgment on the pleadings is GRANTED.
The Commissioner’s determination that plaintiff was not disabled at the relevant times, and thus is not
entitled to benefits under the Social Security Act, is VACATED. The matter is hereby REMANDED to the
Commissioner, pursuant to sentence four of 42 U.S.C. 405(g) without a directed finding of disability, for
further proceedings consistent with this determination.


All of the above pursuant to the order of the Honorable David E. Peebles, dated this 29th day of
September, 2021.


DATED: September 29, 2021




                                                         s/ Zachary Cortese
                                                         Zachary Cortese
                                                         Deputy Clerk
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Federal Rules of Appellate Procedure
Rule 4. Appeal as of Right

(a) Appeal in a Civil Case.

1. (1) Time for Filing a Notice of Appeal.                                   of appeal—in compliance with Rule 3(c)—within the time prescribed
(A) In a civil case, except as provided in Rules 4(a)(1)(B), 4(a)(4), and    by this Rule measured from the entry of the order disposing of the last
4(c), the notice of appeal required by Rule 3 must be filed with the         such remaining motion.
district clerk within 30 days after entry of the judgment or order           (5) Motion for Extension of Time.
appealed from.
                                                                             (A) The district court may extend the time to file a notice of appeal
(B) The notice of appeal may be filed by any party within 60 days after      if:
entry of the judgment or order appealed from if one of the parties is:
                                                                             (i) a party so moves no later than 30 days after the time prescribed by
(i) the United States;                                                       this Rule 4(a) expires; and
(ii) a United States agency;
(iii) a United States officer or employee sued in an official capacity; or   (ii) regardless of whether its motion is filed before or during the 30
(iv) a current or former United States officer or employee sued in an        days after the time prescribed by this Rule 4(a) expires, that party
individual capacity for an act or omission occurring in connection with      shows excusable neglect or good cause.
duties performed on the United States' behalf — including all instances      (B) A motion filed before the expiration of the time prescribed in
in which the United States represents that person when the judgment          Rule 4(a)(1) or (3) may be ex parte unless the court requires
or order is entered or files the appeal for that person.                     otherwise. If the motion is filed after the expiration of the prescribed
(C) An appeal from an order granting or denying an application for a         time, notice must be given to the other parties in accordance with
writ of error coram nobis is an appeal in a civil case for purposes of       local rules.
Rule 4(a).                                                                   (C) No extension under this Rule 4(a)(5) may exceed 30 days after
(2) Filing Before Entry of Judgment. A notice of appeal filed after the      the prescribed time or 14 days after the date when the order granting
court announces a decision or order—but before the entry of the              the motion is entered, whichever is later.
judgment or order—is treated as filed on the date of and after the entry.    (6) Reopening the Time to File an Appeal. The district court may
(3) Multiple Appeals. If one party timely files a notice of appeal, any      reopen the time to file an appeal for a period of 14 days after the date
other party may file a notice of appeal within 14 days after the date        when its order to reopen is entered, but only if all the following
when the first notice was filed, or within the time otherwise prescribed     conditions are satisfied:
by this Rule 4(a), whichever period ends later.                              (A) the court finds that the moving party did not receive notice under
(4) Effect of a Motion on a Notice of Appeal.                                Federal Rule of Civil Procedure 77 (d) of the entry of the judgment
                                                                             or order sought to be appealed within 21 days after entry;
(A) If a party timely files in the district court any of the following
motions under the Federal Rules of Civil Procedure, the time to file an      (B) the motion is filed within 180 days after the judgment or order is
appeal runs for all parties from the entry of the order disposing of the     entered or within 14 days after the moving party receives notice under
last such remaining motion:                                                  Federal Rule of Civil Procedure 77 (d) of the entry, whichever is
                                                                             earlier; and
(i) for judgment under Rule 50(b);
                                                                             (C) the court finds that no party would be prejudiced.
(ii) to amend or make additional factual findings under Rule 52(b),
whether or not granting the motion would alter the judgment;                 (7) Entry Defined.
(iii) for attorney's fees under Rule 54 if the district court extends the    (A) A judgment or order is entered for purposes of this Rule 4(a):
time to appeal under Rule 58;                                                (i) if Federal Rule of Civil Procedure 58 (a) does not require a
(iv) to alter or amend the judgment under Rule 59;                           separate document, when the judgment or order is entered in the civil
                                                                             docket under Federal Rule of Civil Procedure 79 (a); or
(v) for a new trial under Rule 59; or
                                                                             (ii) if Federal Rule of Civil Procedure 58 (a) requires a separate
(vi) for relief under Rule 60 if the motion is filed no later than 28 days   document, when the judgment or order is entered in the civil docket
after the judgment is entered.                                               under Federal Rule of Civil Procedure 79(a) and when the earlier of
(B)(i) If a party files a notice of appeal after the court announces or      these events occurs:
enters a judgment—but before it disposes of any motion listed in Rule        • the judgment or order is set forth on a separate document, or
4(a)(4)(A)—the notice becomes effective to appeal a judgment or
order, in whole or in part, when the order disposing of the last such        • 150 days have run from entry of the judgment or order in the civil
remaining motion is entered.                                                 docket under Federal Rule of Civil Procedure 79 (a).
(ii) A party intending to challenge an order disposing of any motion         (B) A failure to set forth a judgment or order on a separate document
listed in Rule 4(a)(4)(A), or a judgment's alteration or amendment           when required by Federal Rule of Civil Procedure 58 (a) does not
upon such a motion, must file a notice of appeal, or an amended notice       affect the validity of an appeal from that judgment or order.
